Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 1 of 9




                 EXHIBIT B
Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 2 of 9



 Consultants for FPL covertly monitored journalist after
 critical coverage
    orlandosentinel.com/2022/06/24/consultants-for-fpl-covertly-monitored-journalist-after-critical-coverage

 Annie Martin, Mario Alejandro Ariza                                                                           June 24, 2022


 An email from then-Matrix LLC CEO Jeff Pitts to Florida Power & Light executive Daniel
 Martell, dated Oct. 24, 2019, contained a comprehensive background report on Monroe that
 featured sensitive personal information, including his social security number.




 By Annie Martin | anmartin@orlandosentinel.com | Orlando Sentinel and Mario Alejandro
 Ariza | mario@floodlightnews.org | Floodlight
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 Consultants working for America’s largest power company covertly monitored a Jacksonville
 journalist and obtained a report containing his social security number and other sensitive
 personal information, leaked documents reveal.

 The surveillance happened after the journalist wrote critically about how Florida Power &
 Light tried to sway city council members to sign off on its business plans. Text messages
 show an FPL executive was kept abreast of Florida Times-Union columnist Nate Monroe‘s
 movements while he was on vacation in the Florida panhandle in November 2019, an
 investigation by the Times-Union, the Orlando Sentinel and Floodlight has found.

 Nearly a year later in October 2020, the consultants also obtained a photograph of Monroe
 and his girlfriend at the time outside their Jacksonville-area apartment, according to records
 shared with reporters by an anonymous source.




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Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 3 of 9




  A photo leaked to the Florida Times-Union shows columnist Nate Monroe walking his dog with his then-
    girlfriend near their Jacksonville-area apartment. The photo, dated Oct. 14, 2020, was found on the
 computer of former Matrix LLC CEO Jeff Pitts, according to the Alabama political consulting firm’s founder,
                                                 Joe Perkins.

 FPL denies that it authorized or knew about the surveillance. But the records show
 employees of Matrix LLC, an Alabama-based consulting firm employed by the utility, were
 shadowing the journalist throughout his critical coverage of a failed $11 billion purchase of a
 smaller Florida utility.

 In an interview with a group of Florida-based reporters in early June, FPL’s CEO Eric Silagy
 denied that the company had asked the consultants to spy on any journalists.

 “I have never authorized or approved or been a party to following you or any other reporter,”
 Silagy said to Monroe and others.

 FPL’s relationship with Matrix has come under scrutiny after reporting by the Orlando
 Sentinel revealed Matrix operatives orchestrated a campaign to promote spoiler candidates
 that diverted votes from Democrats so Republicans could retain control of the Florida
 Senate. FPL denies knowledge of or involvement in that scheme.




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Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 4 of 9




 Eric Silagy, the president and CEO of Florida Power & Light, during an interview Thursday, June 9, 2022,
          with reporters from the Florida Times-Union, the Orlando Sentinel and Floodlight News.

 While surveilling journalists is commonplace in some parts of the world, it’s happening more
 frequently in the United States, said Ted Bridis, a journalism instructor at the University of
 Florida. A former Associated Press investigative editor whose phone records were seized by
 the FBI a decade ago, Bridis said harassment of journalists is escalating, facilitated by a
 “new era of political divisiveness.”

 “The fact that this kind of behavior could be taking place in Florida, allegedly by people with
 ties to the largest energy company, should shock the conscience,” he said.

 FPL has said a law firm reviewed its work with Matrix and found no evidence of wrongdoing
 by the utility’s employees, but FPL has refused to share the report or its findings.

 The documents revealing the surveillance were sent to the Florida Times-Union and shared
 with the Orlando Sentinel and Floodlight. The documents include a series of text messages
 to FPL’s vice president of state legislative affairs, Daniel Martell, that show an apparent
 coordinated effort to follow Monroe while he was on vacation.

 Monroe had been a frequent critic of FPL’s efforts to privatize and purchase a community-
 owned electric, water and sewer utility located in Jacksonville, JEA. FPL, which controls the
 territory surrounding Jacksonville, has long coveted the utility.


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Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 5 of 9

 FPL spokesman David Reuter in an emailed statement said his company had “no digital
 record of these exchanges and cannot prove their veracity.” He argued they may not be
 authentic or could be incomplete, taken out of context or “manipulated to make FPL look
 bad.”

 “Taken individually or collectively, none of the information you have in your possession
 demonstrates any wrongdoing by FPL or our employees,” Reuter said. Reuter would not
 point to specific details in the documents that he thought might be false. FPL has repeatedly
 accused journalists of unfairly covering the company.

 FPL alleges the documents are being released to reporters by Joe Perkins, who founded
 Matrix. Perkins is locked in a legal dispute with his firm’s former CEO, Jeff Pitts, who left the
 company in December 2020, taking several employees and clients with him.

 Perkins declined to say whether he is the source of the documents leaked to journalists but
 verified that the records are legitimate. He confirmed that Matrix was able to locate the
 records on Pitts’ former laptop. Perkins blames Pitts and other “rogue” employees for the
 surveillance.

 He denied directing anyone to spy on Monroe.

 “I had no knowledge that it ever took place until I saw the material on Jeff Pitts’ computer,” he
 said.

 In a statement responding to questions from the Times-Union about the records, Pitts’
 attorney John Collins accused Perkins of “leaking partial and misleading confidential client
 documents.”

 “For years, Joe Perkins directed and paid for the surveillance of individuals – in many cases,
 without client knowledge or approval – and he often leveraged this information for whatever
 suited his needs regardless of ethical boundaries,” Collins said. “This is one of the many
 reasons Jeff left Matrix.”

 The documents, which were sent to the Times-Union by an anonymous source, show that
 Matrix was monitoring Monroe’s activities on Nov. 9, 2019, when the Times-Union columnist
 was in Pensacola for a friend’s wedding.




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Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 6 of 9




  Leaked text messages from Matrix LLC show someone at the firm sent a screenshot of a tweet by Nate
   Monroe to Daniel Martell, an FPL executive, on Nov. 9, 2019. The texts suggest the Alabama political
     consulting firm was monitoring the Jacksonville journalist, who was in Pensacola for a wedding.

 That day, Monroe posted a photo on Twitter of himself and his girlfriend in front of a mural
 that featured the city’s name prominently – clearly depicting his whereabouts. Hours later,
 after his alma mater Louisiana State University defeated rival University of Alabama in
 football, Monroe tweeted, “OK. Time to get drunk.” According to leaked text messages, which
 Perkins said were found on Pitts’ computer, someone at Matrix sent a screenshot of the
 tweet to FPL’s Martell at 7.34 p.m. Eastern time.

 “Awesome,” Martell responded a minute later.




                                                                                                          5/8
Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 7 of 9

 Sometime later, the Matrix operative texted Martell, “He’s in an Uber,” adding a frowning
 emoji. The text lines up with Monroe’s rideshare receipt from that evening.

 Documents obtained by the Times-Union also included a photo taken of Monroe while he
 was walking his dog with his then-girlfriend near their Jacksonville-area apartment. The
 photo, dated Oct. 14, 2020, was taken days after Monroe published a column about how FPL
 the summer before had planned to direct donations to charities led by members of
 Jacksonville’s City Council. Those members would have to sign off on a JEA sale. The plan
 was never executed.

 Another email dated Oct. 24, 2019, between Pitts, the Matrix CEO, and Martell, the FPL
 employee, contained a comprehensive background report on Monroe that featured sensitive
 personal information, including his social security number.

 “Shocker he is a Democrat and completely boring,” Pitts wrote of the columnist in the
 documents.




  An email from then-Matrix LLC CEO Jeff Pitts to Florida Power & Light executive Daniel Martell, dated
 Oct. 24, 2019, contained a comprehensive background report on Monroe that featured sensitive personal
                             information, including his social security number.

 It’s unclear who was monitoring Monroe’s movements, how frequently, or what they hoped to
 gather. But Matrix records previously obtained by the Orlando Sentinel show the firm paid
 more than $10,000 in 2018 to Clear Capture Investigations, a private investigation firm in
 Gainesville that touts “political/corporate surveillance” as one of its specialties.

 The firm has not responded to a request for comment.

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Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 8 of 9

 FPL argued Matrix may have ordered the report for a different client and said it had no
 record of receiving such a report.

 “If Matrix sent such a report to FPL, it was sent unsolicited,” Reuter said. “If we wish to learn
 more about a journalist, we consult publicly available sources such as social media, the
 internet and other information which is readily available to any member of the public.”

 Observing or photographing someone in a public place or collecting information about them
 isn’t illegal, said Clay Calvert, a professor of law at UF.

 “It’s the intimidation that’s the problem,” he said.

 But Calvert said surveillance would discourage few journalists from writing critical stories and
 such behavior might entice other reporters to rally around one of their peers.

 “It’s clearly bad public relations to try to intimidate journalists,” he said.

 In addition to monitoring Monroe, Pitts and other Matrix operatives in 2019 launched a
 nonprofit called “Grow United,” through which they orchestrated a job offer to Garrett Dennis,
 a member of Jacksonville’s City Council who opposed privatizing JEA, in a failed effort to
 coax him into resigning his elected office, the Times Union and Sentinel reported previously.

 The following year, the Matrix consultants used Grow United to fund $550,000 in mailers
 promoting independent candidates in three competitive state Senate races. Though the
 “ghost” candidates did not campaign, the mailers promoted them as progressives in an
 apparent attempt to siphon votes away from their Democratic opponents and help
 Republicans.

 Five people are facing criminal charges in connection with the scheme, including former
 Florida Sen. Frank Artiles of Miami, who is accused of paying Alex Rodriguez nearly $45,000
 to run in a South Florida race. Rodriguez received more than 6,000 votes, helping
 Republican Ileana Garcia defeat incumbent Democrat Jose Javier Rodriguez, an FPL critic,
 by 32 votes.

 Alex Rodriguez pleaded guilty last year to the charges and agreed to testify in the state’s
 case against Artiles.

 Last month, political consultant Eric Foglesong, Seminole County GOP Chair Ben Paris and
 independent candidate Jestine Iannotti also were charged in connection with a Central
 Florida race. Those charges stem from accusations that Iannotti’s financial reports listed
 contributions from people who told investigators they never donated to her campaign.

 This story is part of a partnership between the Orlando Sentinel and Floodlight, a nonprofit
 investigative newsroom. It also appeared in the Guardian.



                                                                                                     7/8
Case 9:23-cv-80833-AMC Document 83-3 Entered on FLSD Docket 01/12/2024 Page 9 of 9




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